    Case 1:23-cv-11195-SHS-OTW                        Document 243    Filed 09/13/24    Page 1 of 6




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------x
AUTHORS GUILD, et al.,                                          :
                                                                :
                        Plaintiff,                              :      23-cv-8292 (SHS) (OTW)
                                                                :
                      -against-                                 :      And the Consolidated Cases:
                                                                :      23-cv-10211 (SHS) (OTW)
OPENAI INC., et al.,
                                                                :      24-cv-84 (SHS) (OTW)
                        Defendants.                             :
                                                                :      ORDER
                                                                :

--------------------------------------------------------------x

THE NEW YORK TIMES COMPANY.,                                  :
                                                              :
                        Plaintiff,                            :      23-cv-11195 (SHS) (OTW)
                                                              :
                      -against-                               :
                                                              :      ORDER
MICROSOFT CORPORATION, et al.,
                                                              :
                        Defendants.                           :
                                                              :
                                                              :
--------------------------------------------------------------x

DAILY NEWS, LP, et al.,                                       :
                                                              :
                        Plaintiff,                            :      24-cv-3285 (SHS) (OTW)
                                                              :
                      -against-                               :
                                                              :
MICROSOFT CORPORATION, et al.,
                                                              :      ORDER
                        Defendants.                           :
                                                              :
                                                              :
--------------------------------------------------------------x
     Case 1:23-cv-11195-SHS-OTW                       Document 243    Filed 09/13/24   Page 2 of 6




THE CENTER FOR INVESTIGATIVE REPORTING, :
INC.,                                                         :
                                                              :      24-cv-4872 (SHS) (OTW)
                        Plaintiff,                            :
                                                              :
                      -against-                               :
                                                              :      ORDER
OPENAI, INC., et al.,
                                                              :
                        Defendants.                           :
                                                              :
--------------------------------------------------------------x

         ONA T. WANG, United States Magistrate Judge:

         The Court held a status conference on these matters on September 12, 2024, and rules

as follows:

I.       Authors Guild, et al. v. OpenAI Inc., et al. No. 23-cv-8292 and consolidated
                 cases.

              A. Plaintiffs’ letter motion to compel at ECF 78 is DENIED. The parties are directed

                   to meet and confer by September 20, 2024, and file a joint status letter on the

                   docket apprising the Court of any progress made on this issue.

              B. Plaintiffs’ letter motion to compel at ECF 106 is GRANTED in part. Defendant

                   OpenAI is directed to produce the responses to FTC interrogatories Nos. 15-21 as

                   identified in Plaintiffs’ letter motion. Plaintiffs’ letter motion is DENIED as moot

                   in all other respects. Plaintiffs’ letter motion to compel at ECF 143 is also DENIED

                   as moot.

              C. Plaintiffs’ letter motion at ECF 138 is DENIED as moot.

              D. Plaintiffs’ letter motion for bi-weekly status conferences at ECF 147 is DENIED

                   without prejudice.

              E. Defendant’s letter motion to compel at ECF 164 is DENIED as moot.
      Case 1:23-cv-11195-SHS-OTW           Document 243          Filed 09/13/24   Page 3 of 6




           F. Plaintiffs’ letter motion to compel at ECF 168 is DENIED. The parties are directed

               to meet and confer by September 20, 2024, and file a joint status letter on the

               docket apprising the Court of the progress made on this issue.

           G. Defendants’ letter motion for an extension of time for fact discovery at ECF 180

               is GRANTED. The interim fact discovery deadline is hereby extended to

               December 20, 2024.

           H. Plaintiffs’ letter motion to compel at ECF 193 is DENIED. Defendant OpenAI is

               directed to preserve and segregate all documents that are held by the listed

               custodians raised in Plaintiffs’ letter motion.



II.     The New York Times Co. v. Microsoft Corp. et al., 23-cv-11195.

           A. Plaintiff’s letter motion for bi-monthly status conferences at ECF 117 is DENIED

               without prejudice.

           B. Defendant’s letter motion to compel at ECF 124 is DENIED.

           C. Plaintiff’s letter motion to compel at ECF 128 is DENIED. The parties are directed

               to meet and confer by September 20, 2024, and file a joint status letter on the

               docket apprising the court of the progress made on this issue.

           D. Defendants’ conditional cross-motion at ECF 131 is GRANTED in part. The

               interim fact discovery deadline is hereby extended to December 20, 2024.

               Defendants’ cross-motion is DENIED in all other respects.
Case 1:23-cv-11195-SHS-OTW          Document 243          Filed 09/13/24   Page 4 of 6




     E. Plaintiff’s letter motion to compel at ECF 141 is DENIED. The parties are directed

        to meet and confer by September 20, 2024, and file a joint status letter on the

        docket apprising the court of the progress made on this issue.

     F. Defendants’ motion to consolidate this action, The New York Times Co. v.

        Microsoft Corp. et al., No. 23-cv-11195, with Daily News et al. v. Microsoft Corp.

        et al., No. 24-cv-3285 at ECF 142 is GRANTED for the reasons stated on the

        record.

     G. Defendants’ letter motion for oral argument at ECF 146 is DENIED as moot.

     H. Defendant’s letter motion to compel at ECF 152 is DENIED with respect to RFPs

        10, 11, and 12. Defendant’s letter motion is also DENIED without prejudice to

        renewal with respect to correspondence and applications to the U.S. Copyright

        Office after OpenAI has first completed its own production re: LLM training.

     I. Plaintiff’s letter motion to compel at ECF 204 is DENIED. Defendant OpenAI is

        directed to preserve and segregate all documents that are held by the listed

        custodians raised in Plaintiffs’ letter motion.

     J. Plaintiff’s letter motion to compel at ECF 221 is DENIED. The parties are directed

        to meet and confer by September 20, 2024, and file a joint status letter on the

        docket apprising the court of the progress made on this issue.

     K. Plaintiff’s letter motion to compel at ECF 228 is DENIED. The parties are directed

        to meet and confer by September 20, 2024, and file a joint status letter on the

        docket apprising the court of the progress made on this issue.
       Case 1:23-cv-11195-SHS-OTW           Document 243        Filed 09/13/24     Page 5 of 6




            L. Defendant’s letter motion for an extension of time at ECF 235 is GRANTED. The

                interim fact discovery deadline is hereby extended to December 20, 2024.



III.     Daily News, LP, et al. v. Microsoft Corp., et al., 24-cv-3285.

            A. Plaintiffs’ letter motion at ECF 135 is DENIED as moot.



IV.      Basbanes et al. v. Microsoft Corp. et al., 24-cv-84.

            A. The parties are directed to file a joint stipulation, if possible, by September 27,

                2024, regarding the potential dismissal of certain claims.

            B. The case is hereby STAYED until September 27, 2024.



V.       Center for Investigative Reporting, Inc. v. OpenAI, Inc. et al., 24-cv-4872.

            A. The parties’ Rule 16 conference will be held at/with the October 30, 2024 status

                conference. The parties are directed to file their Rule 26(f) report by

                Wednesday, October 16, 2024.



         All joint status letters are due September 27, 2024, unless otherwise directed at the

 conference, and shall be filed in their respective dockets only.
   Case 1:23-cv-11195-SHS-OTW            Document 243       Filed 09/13/24    Page 6 of 6




        The Court will hold an Omnibus In-Person Status Conference for all cases on

Wednesday, October 30, 2024 at 9:30 a.m. in Courtroom 20D, 500 Pearl Street, New York, NY

10007. The parties are directed to file respective joint agendas by Wednesday, October 16,

2024.




        SO ORDERED.



                                                         s/ Ona T. Wang
Dated: September 13, 2024                              Ona T. Wang
       New York, New York                              United States Magistrate Judge
